Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 1 of 13




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                            Chief Judge Philip A. Brimmer

 Criminal Case No. 13-cr-00411-PAB

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 1. THERON MAXTON,

      Defendant.
 _____________________________________________________________________

                                 ORDER
 _____________________________________________________________________

       This matter is before the Court on defendant Theron Maxton’s Request for

 Compassionate Release Due to Serious Medical Issues and the Covid-19 [Docket No.

 360] and Supplement to Pro Se Motion for Compassionate Release [Docket No. 365].

 Pursuant to General Order 2020-07, CJA counsel entered an appearance on behalf of

 Mr. Maxton on July 8, 2020. Docket No. 361. On October 1, 2020, defendant filed his

 supplement through counsel. Docket No. 365. The government responded on October

 19, 2020. Docket No. 369.

 I. BACKGROUND

       On January 22, 2015, a jury found Mr. Maxton guilty of the four counts with

 which he was charged. Docket No. 175-1. Two convictions were for threatening to

 assault, kidnap, and murder a member of the immediate family of a federal law

 enforcement officer with intent to impede, intimidate, and interfere with such law

 enforcement officer and official while engaged in the performance of official duties, and
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 2 of 13




 with intent to retaliate against such official and law enforcement officer on account of

 the performance of official duties, in violation of 18 U.S.C. §§ 115(a)(1)(A), (b)(4).

 Docket No. 4; Docket No. 175-1. The jury also found Mr. Maxton guilty of two counts of

 threatening to assault, kidnap, and murder a federal law enforcement officer and official

 with the intent to impede, intimidate, and interfere with such law enforcement officer or

 official while engaged in the performance of official duties, and with intent to retaliate

 against such official and law enforcement officer on account of the performance of

 official duties, in violation of 18 U.S.C. §§ 115(a)(1)(B), (b)(4). Id.

        On June 19, 2015, the Court sentenced Mr. Maxton to a total of 100 months

 imprisonment plus three years of supervised release for the four charges. Docket No.

 289 at 3. The Court imposed this sentence to run consecutively to two sentences

 imposed in separate cases by the United States District Court for the District of South

 Carolina, Case Nos. 89-cr-00305 and 97-cr-00490. Id. The Tenth Circuit affirmed.

 Docket No. 339.

        Mr. Maxton is currently serving the first District of South Carolina sentence. The

 government represents that Mr. Maxton’s projected release date for that sentence is

 February 22, 2022, after which he will serve the second District of South Carolina

 sentence, with a projected release date of January 14, 2033. Docket No. 369 at 1.

 Then, Mr. Maxton will begin his sentence in this case. Id.

        Mr. Maxton asks that the Court “conclude that the sentence already served

 sufficiently serves the purposes of sentencing in light of Mr. Maxton’s extraordinary and

 compelling circumstances, which developed subsequent to the original sentencing.”

 Docket No. 365 at 15. Mr. Maxton requests that the Court “modify his sentence to

                                               2
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 3 of 13




 ‘time-served’, for the almost 84 months, as of October 7, 2020, he has served on this

 case alone, since his indictment herein.” Id. Later in Mr. Maxton’s motion, he asks for

 modification of his sentence to time-served as well as a term of supervised release. Id.

 Mr. Maxton, however, has yet to begin serving the sentence in this case, which is to run

 consecutively to the sentence he is currently serving and the sentence he has yet to

 begin in South Carolina. Docket No. 289.

 II. ANALYSIS

        Section 3582(c)(1)(A) permits a district court to “reduce [a] term of imprisonment”

 in certain circumstances “upon motion of the Director of the Bureau of Prisons, or upon

 motion of the defendant after the defendant has fully exhausted all administrative rights

 to appeal a failure of the Bureau of Prisons to bring a motion on the defendant's behalf

 or the lapse of 30 days from the receipt of such a request by the warden of the

 defendant's facility, whichever is earlier.” Specifically, a court may order an inmate’s

 release if the court finds that (1) “extraordinary and compelling reasons warrant such a

 reduction; . . . and that [(2)] such a reduction is consistent with applicable policy

 statements issued by the Sentencing Commission” as set out in 18 U.S.C. § 3553(a).

 18 U.S.C. § 3582(c)(1)(A). The government does not dispute that Mr. Maxton has met

 the exhaustion requirement. Docket No. 369 at 1. Nevertheless, the government

 argues that Mr. Maxton has not established that extraordinary and compelling reasons

 support to a sentence reduction and has not met his burden of demonstrating that a

 reduction of sentence is consistent with the § 3553(a) factors. Docket No. 369 at 1.

        A. Extraordinary and Compelling Reasons Warranting Release



                                               3
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 4 of 13




       The Sentencing Commission has identified four categories of “extraordinary and

 compelling” reasons that may warrant a sentence reduction under the First Step Act:

       (A) Medical Condition of the Defendant.–

              (I) The defendant is suffering from a terminal illness (i.e., a
              serious and advanced illness with an end of life trajectory). A
              specific prognosis of life expectancy (i.e., a probability of death
              within a specific time period) is not required. Examples include
              metastatic solid-tumor cancer, amyotrophic lateral sclerosis (ALS),
              end-stage organ disease, and advanced dementia.

              (ii) The defendant is–

                    (I) suffering from a serious physical or medical condition,

                    (II) suffering from a serious functional or cognitive impairment, or

                    (III) experiencing deteriorating physical or mental health because
                    of the aging process,

                 that substantially diminishes the ability of the defendant to provide
                 self-care within the environment of a correctional facility and from
                 which he or she is not expected to recover.

       (B) Age of the Defendant.– The defendant (I) is at least 65 years old; (ii) is
       experiencing a serious deterioration in physical or mental health because of the
       aging process; and (iii) has served at least 10 years or 75 percent of his or her
       term of imprisonment, whichever is less.

       (C) Family Circumstances.–

              (I) The death or incapacitation of the caregiver of the defendant's minor
              child or minor children.

              (ii) The incapacitation of the defendant’s spouse or registered partner
              when the defendant would be the only available caregiver for the spouse
              or registered partner.

       (D) Other Reasons.– As determined by the Director of the Bureau of Prisons,
       there exists in the defendant's case an extraordinary and compelling reason
       other than, or in combination with, the reasons described in subdivisions (A)
       through (C).


                                            4
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 5 of 13




 U.S.S.G. § 1B1.13, cmt. n.1. Mr. Maxton argues that he is entitled to relief under

 subsections (A), based on his ability to provide self-care, and (D), which allows for

 release pursuant to extraordinary or compelling reasons, other, or in combination with,

 those set out in subsections (A)–(C), “[a]s determined by the Director of the Bureau of

 Prisons.” U.S.S.G. § 1B1.13, cmt. n.1(D); Docket No. 365 at 11. Mr. Maxton argues

 that his medical conditions constitute extraordinary and compelling reasons, even

 absent COVID-19. Docket No. 365 at 11–12.

        The medical evidence that Mr. Maxton has submitted demonstrates that he has a

 medical history of “right inguinal and umbilical hernia repair, BPH with LUTS, elevated

 PSA, GERD and schatzki ring, rotator cuff tear/impingement/OA of AC joint mild to

 moderate DJD of cervical spine, COPD, external hemorrhoids, and renal cyst.” Docket

 No. 365-1 at 2. The government explains that “BPH” stands for “benign prostatic

 hyperplasia”; “LUTS” for “lower urinary tract symptoms”; “PSA” for “prostate specific

 antigen”; “GERD” for “gastroesophageal reflux disease”; “OA” for “osteoarthritis”; “AC”

 for “articular cartilage”; “DJD” for “degenerative joint disease”; and “COPD” for “chronic

 obstructive pulmonary disease.” Docket 369 at 4.

        In addition to the medical records that Mr. Maxton provided, he states that he

 suffers from chronic asthma, Docket No. 365 at 6, and has received inadequate

 medical care in custody, which “exacerbates the aforementioned infirmities.” Id. at 7.

 In particular, Mr. Maxton states that he was injected with penicillin, which he is allergic

 to, and suffered anaphylaxis, id., that he had received no treatment or medication for

 his COPD diagnosis, id., that he has received no treatment for a psychological disorder

 with which he was diagnosed in 1986 and for which intervention was indicated, id. at 8,

                                              5
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 6 of 13




 and that he has received inadequate care for a kidney cyst that likely requires surgical

 intervention, id. at 8–9. Mr. Maxton also argues that his COPD and asthma put him at

 an “increased risk of severe illness from COVID-19.” Id. at 6. Each of these factors –

 his health and the Bureau of Prison’s inattention to both his medical concerns and the

 COVID-19 pandemic – “indicates he is deteriorating physical[ly] due to the aging

 process and his ability to provide self-care within the correctional facility environment

 continues to diminish.” Id. at 12.

        The government does not dispute the medical conditions detailed in Mr.

 Maxton’s records at Docket 365-2, but argues that Mr. Maxton has failed to

 demonstrate extraordinary and compelling reasons that would warrant a reduction in

 his sentence. Docket No. 369 at 8. The government also acknowledges that Mr.

 Maxton’s COPD diagnosis “puts him at an increased risk of severe illness” from

 COVID-19, “and asthma and hypertension might put him at an increased risk for severe

 illness from the virus.” Id. Nevertheless, the government argues that Mr. Maxton has

 not established that his medical conditions fall within one of the categories found at

 U.S.S.G. § 1B1.13. Id. at 9. In particular, the government first argues that Mr. Maxton

 cannot show that he suffers from a “serious physical or medical condition that . . .

 substantially diminishes the ability of the defendant to provide self-care within the

 environment of a correctional facility and from which he or she is not expected to

 recover.” Id. (citing U.S.S.G. § 1B1.13(A)(ii)(I)). Second, the government argues that

 Mr. Maxton has failed to establish that he is “experiencing deteriorating physical or

 mental health because of the aging process, that substantially diminishes the ability of

 the defendant to provide self-care within the environment of a correctional facility and

                                              6
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 7 of 13




 from which he or she is not expected to recover.” Id. at 10 (citing U.S.S.G. §

 1B1.13(A)(ii)(III)). Third, the government argues that, while Mr. Maxton can show that

 he is “at least 65 years old,” he cannot show that he has served “at least 10 years or 75

 percent of his or her term of imprisonment.” Id. at 11 (citing U.S.S.G. § 1B1.13(B)). He

 cannot show the latter, the government argues, because he has yet to begi n his term of

 imprisonment in this case.

        Courts regularly rely on an inmate’s ability to perform activities of daily living

 (“ADLs”) to determine whether the inmate is able to provide self-care. See, e.g., United

 States v. Bellamy, 2019 WL 3340699, at *4 (D. Minn. July 25, 2019) (finding that

 inmate was eligible for compassionate release where “he need[ed] assistance using the

 toilet, getting dressed, bathing, transferring to his wheelchair from his bed, using the

 computer, obtaining meals, doing laundry, and obtaining his medication, among other

 activities”); United States v. Handy, 2020 WL 2041666, at *4 (D. Md. Apr. 28, 2020)

 (finding that inmate was incapable of providing self-care where the inmate was “always

 in a wheelchair” when not in his housing unit and “need[ed] help with activities such as

 breaking up food into small pieces, fetching a meal tray, opening packaging, and

 clipping toenails due to his right hand being ‘completely deformed.’”); United States v.

 Korn, 2020 WL 1808213, at *5-6 (W.D.N.Y. Apr. 9, 2020) (finding that an inmate had

 failed to demonstrate he had a medical condition precluding him from providing selfcare

 because the inmate could “walk with a cane, dress, bathe, eat, and perform his other

 activities of daily living independently”). Mr. Maxton has not demonstrated that he

 needs substantial assistance to complete his ADLs and, as a result, has not met his

 burden of demonstrating that he has a medical condition that “substantially diminishes

                                               7
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 8 of 13




 the ability of the defendant to provide self-care within the environment of a correctional

 facility,” as required under both § 1B1.13(A)(ii)(I) and (II).

        Mr. Maxton’s arguments that the Bureau of Prisons is frustrating his attempts at

 self-care by withholding medical treatment or by failing to adequately control the spread

 of COVID-19 are similarly unpersuasive. Mr. Maxton’s medical records indicate that he

 is awaiting an off-site urology appointment for a cystoscopy. Docket No. 365-2 at 1.

 While Mr. Maxton argues that the delay between the January 2020 ultrasound that

 revealed the cyst and the September 2020 CT scan demonstrates that he does not

 receive adequate care within the Bureau of Prisons, Docket No. 370 at 7, Mr. Maxton’s

 medical records indicate that he was examined by a provider in April 2020 and has

 been prescribed medication for his kidney problems. Docket No. 352-2 at 1. He has

 also been prescribed painkillers for his orthopedic pain and an inhaler and two

 additional medications for his COPD. Id. at 1–2. In addition, Mr. Maxton’s records

 indicate that he has refused medical treatment on multiple occasions. He refused a

 colonoscopy in 2018 for rectal bleeding and colon cancer screening, a visit to an off-

 site “GI specialist” in 2019, and ear lavage in 2020. Docket No. 365-2 at 1, 3.

        Further, while Mr. Maxton provides no information on the state of the COVID-19

 pandemic at USP Victorville, where he is incarcerated, the Court takes judicial notice

 that the Bureau of Prisons website indicates that Victorville has four positive cases

 among inmates and four positive cases among staff. See Federal Bureau of Prisons,

 COVID-19 Cases, https://www.bop.gov/coronavirus/ (last accessed November 9, 2020).

 While the Court acknowledges that the risk of contracting COVID-19 is higher in closed

 environments such as prisons, the few active COVID-19 cases among the inmate

                                               8
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 9 of 13




 population means that the risk of Mr. Maxton contracting the disease is relatively low.

 See United States v. King, 2020 WL 5909107, at *4 (S.D. Oct. 6, 2020) (finding that

 USP Victorville “is engaged in strenuous efforts to protect inmates against the spread

 of COVID-19,” and that the threat of COVID-19 at USP Victorville did “not establish

 extraordinary and compelling reasons to justify” the defendant’s release when there

 were 13 active cases).

       Finally, Mr. Maxton is unable to meet his burden under § 1B1.13, cmt. n.1(B).

 While Mr. Maxton’s age is not in dispute, and while he has served much of his present

 sentence, Docket No. 365 at 2, the gover nment is correct that he has not served any of

 the sentence that this Court imposed, and, therefore, Mr. Maxton has not shown that he

 has served “at least 10 years or 75 percent of his or her term of imprisonment,

 whichever is less.” U.S.S.G. § 1B1.13 cmt. n.1(B). Mr. Maxton disputes the

 government’s contention that his sentence in this case has yet to begin. Docket No.

 370 at 2–4. Mr. Maxton’s arguments, however, are unconvincing. The sentence that

 this Court imposed is to begin once Mr. Maxton completes his sentences in South

 Carolina, which he has yet to do. Docket No. 289.

       Accordingly, Mr. Maxton has not demonstrated that extraordinary and compelling

 reasons exist warranting compassionate release. 18 U.S.C. § 3582(c)(1)(A).

       B. Section 3553(a) Factors

       Even if an inmate has demonstrated that extraordinary and compelling reasons

 exist warranting release under 18 U.S.C. § 3582(c)(1)(A)(I), the Court must consider

 whether compassionate release is appropriate in light of the sentencing factors set out

 in 18 U.S.C. § 3553(a). See, e.g., United States v. Lochmiller, No. 09-cr-00529-PAB,

                                             9
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 10 of 13




 2020 WL 4783433, at *2 (D. Colo. July 20, 2020) (“[T]he Court must consider whether

 the factors outlined in 18 U.S.C. § 3553(a) support” the sentence reduction.); see also

 United States v. Saldana, 807 F. App’x 816, 819 (10th Cir. 2020) (unpublished) (“Under

 § 3582(c)(1)(A)(I), a district court may grant a sentence reduction . . . after considering

 the 18 U.S.C. § 3553(a) factors . . . .”) (internal quotations omitted). These factors

 include “the nature and circumstances of the offense and the hi story and characteristics

 of the defendant,” and “the need for the sentence imposed . . . to reflect the

 seriousness of the offense, to promote respect for the law, and to provide just

 punishment for the offense, to afford adequate deterrent to criminal conduct, [and] to

 protect the public from further crimes of the defendant.” 18 U.S.C. § 3553(a). “The

 Court also considers whether the Defendant is a danger to the safety of any other

 person in the community.” United States v. Tate, 2020 WL 37914676, at *5 (C.D. Ill.

 July 7, 2020) (citing U.S.S.G. § 1B1.13).

        Mr. Maxton asserts that the § 3553(a) factors weigh in favor of compassionate

 release. Docket No. 365 at 14–15. He asks the Court to consider “the most up-to-date

 picture” of his history and characteristics. Id. at 14 (quoting Pepper v. United States,

 562 U.S. 476, 490 (2011)). Mr. Maxton acknowledges that his “offense and his criminal

 history qualified him for the serious sentence that this Court originally imposed,” but

 states that his “physical condition following his health decline realistically forecloses a

 probability of dangerous recidivism.” Id. at 14. Among other things, Mr. Maxton’s

 “eyesight has weakened,” and “he suffers from multiple recurrent hernias, his breathing

 has deteriorated, and his overall health and well-being has demonstrably declined due

 to COPD.” Id. at 14–15. Mr. Maxton states that “[h]aving undergone a very long period

                                              10
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 11 of 13




 of incarceration and due to his physical and mental deterioration, Mr. Maxton no longer

 poses a danger to the community.” Id. at 15.

        Mr. Maxton also explains that he now “[r]ecogniz[es] the severity of his offenses”

 and has “expressed deep and sincere remorse for his conduct resulting in his criminal

 convictions.” Id. at 11. He states that he was only twenty-years-old when he was first

 incarcerated and that “he was suffering from severe and persistent mental illness,” but

 that, in prison, “he has benefitted from some mental health treatment and maturity.” Id.

 He now wishes “to be released in order to take initiative in starting a new chapter . . .

 and pursuing more comprehensive treatment for his mental illness.” Id.

        The government, however, points to the crimes Mr. Maxton committed in this

 case and, by the nature of the crimes, the danger he would pose to those outside the

 prison. Docket 369 at 2. W hile an inmate in Colorado, Mr. Maxton wrote three

 profanity-laced letters threatening the lives of federal officials and their families. Id. at

 2–3. The threats were so severe – in part because Mr. Maxton had previously

 assaulted two prison employees in South Carolina and threatened them with a knife –

 that one employee quit her job at the prison and another warned his children to be

 cautious when opening the door to their home. Id. at 3. When interviewed by the FBI,

 Mr. Maxton stated that, “if given the opportunity[,] he would try to kill” the prison

 officials. Id. at 3–4. Even before these acts in 2012, the government argues that Mr.

 Maxton’s record was full of extraordinary acts of violence.

        The Court finds that, even if he meets the § 3582(c)(1)(A) factors for

 demonstrating extraordinary and compelling reasons to be released, Mr. Maxton has

 failed to meet his burden of demonstrating a reduction in sentence is appropriate under

                                               11
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 12 of 13




 § 3553(a). While Mr. Maxton attempts to assure the Court that he has learned his

 lessons after having been incarcerated for 30 years, the crimes Mr. Maxton committed

 in this case occurred only eight years ago, when Mr. Maxton was 57 years old. Further,

 Mr. Maxton’s statement that he would try to kill prison officials if given the opportunity

 does not inspire confidence that Mr. Maxton will not re-offend. Mr. Maxton reasons that

 the risk he will commit additional crimes is mitigated by his medical conditions,

 including his weakening eyesight, hernias, and COPD. Docket 365 at 14. However,

 while the presentence report and Mr. Maxton’s medical records detail his COPD and a

 history of hernias, neither document mentions Mr. Maxton’s eyesight. Further, he had

 hernia repair surgeries in 1965, 1982, and 1996, indicating that his hernias did not

 prevented him from committing the crimes for which he is incarcerated in South

 Carolina or the ones for which he was sentenced in Colorado. In addition, the Court

 finds that Mr. Maxton would be a danger to himself or others if he were released, given

 that he has used other people to assist him in committing crimes. For example, in the

 underlying offense, he solicited the assistance of a former fellow inmate to rape and kill

 federal officials and their families, and later reiterated his intentions to an FBI special

 agent, stating that, if given the opportunity, he would follow through on his threats.

 Docket 212 at 5–6, ¶¶ 9–15. Finally, Mr. Maxton has not served any of his 100-month

 sentence, which does not sufficiently reflect the gravity of his offenses or promote

 respect for the law. See United States v. Woods, 2020 WL 3452984, at *3 (S.D. Miss.

 June 24, 2020) (“Further, Woods has only served about a fourth of her sentence. . . .

 The Court finds that, under these circumstances, a reduction in Woods’s sentence

 would not reflect the gravity of the offense.”); United States v. Schwab, 2020 WL

                                              12
Case 1:13-cr-00411-PAB Document 371 Filed 11/09/20 USDC Colorado Page 13 of 13




 3452651, at *1 (E.D. La. June 24, 2020) (“The Court finds that defendant’s sentence

 would not ‘reflect the seriousness of the offense’ were he released after serving eighty-

 two months, or about thirty-four percent, of his term of imprisonment.”).

       Having determined that Mr. Maxton has failed to establish that a reduction in

 sentence is appropriate in light of the § 3553(a) factors, the Court will deny the motion

 for compassionate release.

 III. CONCLUSION

       For the foregoing reasons, it is

       ORDERED that the Request for Compassionate Release [Docket No. 360],

 construed as a motion for compassionate release and as supplemented by Docket No.

 365, is DENIED.


       DATED November 9, 2020.

                                          BY THE COURT:


                                          ____________________________
                                          PHILIP A. BRIMMER
                                          Chief United States District Judge




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